            18-14010         Doc 1       Filed 12/12/18            Entered 12/12/18 04:37:41                   Main Document                Pg
                                                                       1 of 19
 Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Southern               District of New York
                                      (State)
     Case number (If
     known):                                            Chapter 11                                                                    Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.    Debtor’s name                      Synergy Pharmaceuticals Inc.


2.    All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names



3.    Debtor’s federal Employer
                                          XX-XXXXXXX
      Identification Number (EIN)



4.    Debtor’s address                   Principal place of business                               Mailing address, if different from principal place
                                                                                                   of business

                                             420 Lexington Avenue, Suite 2012
                                             Number      Street                                     Number       Street


                                             P.O. Box                                               P.O. Box

                                             New York             NY      10170
                                             City                 State    ZIP Code                 City                      State            ZIP Code


                                             New York County                                        Location of principal assets, if different from
                                                                                                    principal place of business
                                             County

                                                                                                    Number       Street



                                                                                                    P.O. Box



                                                                                                    City                   State          Zip Code



5.    Debtor’s website (URL)              www.synergypharma.com

                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.    Type of debtor
                                             Partnership (excluding LLP)
                                             Other. Specify:
             18-14010           Doc 1   Filed 12/12/18             Entered 12/12/18 04:37:41                     Main Document                   Pg
                                                                       2 of 19
Debtor           Synergy Pharmaceuticals Inc.                                                Case number (if known)
                Name



                                        A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above.


                                        B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                            3      2     5     4
8.    Under which chapter of the        Check one:
      Bankruptcy Code is the               Chapter 7
      debtor filing?                       Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                          insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                          4/01/19 and every 3 years after that).
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                          debtor is a small business debtor, attach the most recent balance sheet, statement
                                                          of operations, cash-flow statement, and federal income tax return or if all of these
                                                          documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                          creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                          Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                          for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                          12b-2.
                                           Chapter 12


9.    Were prior bankruptcy cases           No
      filed by or against the debtor
                                                                                                                      Case
      within the last 8 years?              Yes.   District                                When                       number
      If more than 2 cases, attach a                                                        MM / DD / YYYY
      separate list.                                                                                                  Case
                                                   District                                When                       number
                                                                                            MM / DD / YYYY


10.   Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.   Debtor     See Annex 1                                        Relationship   Affiliate
      affiliate of the debtor?                                Southern District of New York                                     Date hereof
                                                   District                                                      When
      List all cases. If more than 1,              Case number, if known                                                        MM / DD / YYYY
      attach a separate list.
            18-14010       Doc 1      Filed 12/12/18             Entered 12/12/18 04:37:41 Main Document                                    Pg
Debtor         Synergy Pharmaceuticals Inc.                          3 of 19     Case number (if known)
               Name




11.   Why is the case filed in this   Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                         district.


12.   Does the debtor own or have         No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                    Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                    Other



                                              Where is the property?
                                                                            Number        Street




                                                                            City                                          State      ZIP Code



                                              Is the property insured?

                                                    No
                                                    Yes. Insurance agency

                                                         Contact name

                                                         Phone




             Statistical and administrative information



13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                          1-49                               1,000-5,000                              25,001-50,000
14.   Estimated number of
                                          50-99                              5,001-10,000                             50,001-100,000
      creditors
                                          100-199                            10,001-25,000                            More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion
           18-14010           Doc 1     Filed 12/12/18               Entered 12/12/18 04:37:41                             Main Document               Pg
                                                                         4 of 19
Debtor         Synergy Pharmaceuticals Inc.                                                         Case number (if known)
               Name


                                             $0-$50,000                           $1,000,001-$10 million                           $500,000,001-$1 billion
16.   Estimated liabilities                  $50,001-$100,000                     $10,000,001-$50 million                          $1,000,000,001-$10 billion
                                             $100,001-$500,000                    $50,000,001-$100 million                         $10,000,000,001-$50 billion
                                             $500,001-$1 million                  $100,000,001-$500 million                        More than $50 billion




             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
      debtor                                 petition.

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on    12/12/2018
                                                            MM / DD / YYYY

                                                   /s/ Gary G. Gemignani                                     Gary G. Gemignani
                                             Signature of authorized representative of debtor                 Printed name
                                                   Executive Vice President and Chief
                                             Title Financial Officer




18.   Signature of attorney                    /s/ Lisa Laukitis                                             Date         12/12/2018
                                             Signature of attorney for debtor                                                MM / DD / YYYY



                                             Lisa Laukitis
                                             Printed name
                                             Skadden, Arps, Slate, Meagher & Flom LLP
                                             Firm name
                                             Four Times Square

                                             Number         Street



                                                                                                10036-
                                             New York                           NY              6522
                                             City                               State           Zip Code

                                             (212) 735-3000                                                        lisa.laukitis@skadden.com
                                             Contact phone                                                         Email address
                                             3040573                                                               NY
                                             Bar number                                                            State
18-14010     Doc 1     Filed 12/12/18     Entered 12/12/18 04:37:41        Main Document          Pg
                                              5 of 19



                                             Annex 1

                                  SCHEDULE OF DEBTORS

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code. Substantially contemporaneously with the filing of these petitions, these entities
filed a motion requesting that their respective chapter 11 cases be jointly administered for
procedural purposes only.

                                                                      Employee Identification
                           Debtors
                                                                         Number (EIN)
1.    Synergy Pharmaceuticals Inc.                                         XX-XXXXXXX
2.    Synergy Advanced Pharmaceuticals, Inc.                               XX-XXXXXXX
18-14010       Doc 1      Filed 12/12/18        Entered 12/12/18 04:37:41            Main Document            Pg
                                                    6 of 19


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                               Chapter 11

SYNERGY PHARMACEUTICALS INC., et al.,                               Case No. __-_____ (___)

                  Debtors.1                                         (Joint Administration Pending)


         ATTACHMENT TO VOLUNTARY PETITION FOR NON-INDIVIDUALS
               FILING FOR BANKRUPTCY UNDER CHAPTER 11

      1.     If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-35268.

       2.      The following financial data is the latest available information and refers to the
debtor’s condition on September 30, 2018 (unless otherwise indicated).

         (a)      Total Assets                                                         $83,039,825
         (b)      Total Debts                                                          $179,282,378
         (c)      Debt securities held by more than 500 holders:

                            Secured/Unsecured/                                             Approximate
    Debt Security                                                  Amount ($)
                                Subordinated                                            Number of Holders
2019 Convertible        Senior Unsecured                      $18,755,901.37 2          Unknown
Notes                                                                                   CUSIP: 871639AA8

         (d)      Number of shares of preferred stock                                  0
         (e)      Number of shares of common stock                                     248,037,3013
                                                                                       CUSIP: 871639308
                  Comments, if any: N/A

         3. Brief description of debtor’s business:

        Synergy Pharmaceuticals Inc. (“Synergy Pharmaceuticals” or the “Company”) is a
biopharmaceutical company focused on the development and commercialization of novel
gastrointestinal (“GI”) therapies. It has pioneered discovery, research and development efforts

1
     The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
     numbers, are as follows: Synergy Pharmaceuticals Inc. (5269); Synergy Advanced Pharmaceuticals, Inc.
     (4596). The address of the Debtors’ corporate headquarters is 420 Lexington Avenue, Suite 2012, New York,
     New York 10170.
2
     As of December 11, 2018.
3
     As of November 9, 2018.



                                                       -1-
18-14010      Doc 1     Filed 12/12/18   Entered 12/12/18 04:37:41       Main Document         Pg
                                             7 of 19


around analogs of uroguanylin, a naturally occurring and endogenous human GI peptide, for the
treatment of GI diseases and disorders. It discovered and owns 100% worldwide rights to its
proprietary uroguanylin-based GI platform which includes one commercial product and one
development stage compound.

         Synergy Pharmaceuticals’ first and only commercial product, plecanatide, is available
and being marketed by the Company in the United States under the trademark name
TRULANCE®, for the treatment of adults with chronic idiopathic constipation (“CIC”) and
irritable bowel syndrome with constipation (“IBS-C”). On February 27, 2018 Synergy
Pharmaceutical entered into a definitive licensing agreement with Cipher Pharmaceuticals under
which it granted Cipher the exclusive right to develop, market, distribute and sell TRULANCE
in Canada. The company is continuing to evaluate other potential ex-US business development
opportunities for TRULANCE.

         Synergy Pharmaceuticals currently manages its global supply and distribution of
TRULANCE through third-party contract manufacturers. TRULANCE production consists of
three phases: manufacture of (i) the active pharmaceutical ingredient, (ii) the drug product, and
(iii) the packaged finished goods, as well as distribution agreements. Synergy Pharmaceuticals
has entered into arrangements with third-party manufacturers for the production of TRULANCE.

        Dolcanatide is Synergy Pharmaceuticals’ development stage compound that has
demonstrated proof-of-concept in treating patients with ulcerative colitis. The company is
currently exploring potential business development opportunities to further advance dolcanatide
development in ulcerative colitis. In addition, it has shown proof-of-concept with dolcanatide in
treating patients with opioid-induced constipation (“OIC”), demonstrating the utility of our
uroguanylin-based platform in OIC.

        Synergy Pharmaceuticals has historically engaged in research and development with
respect to its development of GI therapies, including the production of drug substance, analytical
testing services, and clinical trials for the Company’s drug candidates.

        As of December 31, 2017, Synergy Pharmaceuticals had 24 issued United States patents
related to guanylate cyclase agonists. Each of these patents expire between 2022 and 2034. In
addition, Synergy Pharmaceuticals has numerous granted foreign patents which expire between
2022 and 2030.

        4. List the names of any person who directly or indirectly owns, controls, or holds, with
           power to vote, 5% or more of the voting securities of the debtor:

            The Vanguard Group, Inc.                        8.87%4
            Blackrock Fund Advisors                         8.38%5



4
    As of September 30, 2018.
5
    As of September 30, 2018.



                                               -2-
18-14010       Doc 1   Filed 12/12/18   Entered 12/12/18 04:37:41         Main Document          Pg
                                            8 of 19



                          SYNERGY PHARMACEUTICALS INC.

                                    Secretary’s Certificate

       The undersigned, being the Secretary of Synergy Pharmaceuticals Inc., a Delaware
corporation (the “Company”), does hereby certify as follows:

        Attached hereto as Annex A is a true, correct, and complete copy of the
        resolutions duly adopted by the Board of Directors of the Company on December
        11, 2018 (the “Resolutions”), and such Resolutions have not been modified or
        rescinded in whole, in part, or in any respect and are in full force and effect

       IN WITNESS WHEREOF, the undersigned, in his capacity as Secretary of the Company
has duly executed and caused this certificate to be delivered as of December 11, 2018.

                                                    SYNERGY PHARMACEUTICALS INC.


                                                    By:
                                                              Name: Gary G. Gemignani
                                                              Title: Executive Vice President,
                                                              Chief Financial Officer, and
                                                              Corporate Secretary




SMRH:228408311.5                              -1-
18-14010       Doc 1   Filed 12/12/18    Entered 12/12/18 04:37:41        Main Document         Pg
                                             9 of 19


                                           ANNEX A

                   RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                        SYNERGY PHARMACEUTICALS INC.

Chapter 11 Filing

        RESOLVED, that the Board of Directors (the “Board”) of Synergy Pharmaceuticals Inc.,
a Delaware corporation (the “Company”), has determined, after consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company, its creditors and other interested parties, that the Company and its
wholly-owned subsidiary Synergy Advanced Pharmaceuticals Inc., a Delaware corporation
(“Subsidiary”), be authorized and empowered to file voluntary petitions for relief (the
“Petitions”) under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in
the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”), for the purpose of initiating a bankruptcy case (the “Bankruptcy Case”); and be it
further

        RESOLVED, that the officers of the Company (collectively, the “Officers”) be, and each
of them hereby is, empowered, authorized and directed, with full power of delegation, on behalf
of and in the name of the Company, to execute and verify the Petitions as well as any other
documents, schedules, motions, lists, applications, pleadings, orders and other documents (the
“Chapter 11 Filings”) (with such changes therein and additions thereto as any such Officer may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11
Filings by any such Officer with any changes thereto to be conclusive evidence that any such
Officer deemed such changes to meet such standard), to cause the Petitions and the Chapter 11
Filings to be filed with the Bankruptcy Court, and to take and perform any and all further acts
and deeds that such Officer deems necessary, appropriate, or desirable in connection with the
Bankruptcy Case, including, without limitation, the payment of fees, expenses and taxes such
Officer deems necessary, appropriate, or desirable; and be it further

       RESOLVED, that the Officers of the Company be, and each of them hereby is,
empowered, authorized and directed to conduct business operations as determined by any of
them to be in the best interests of the Company’s estate and the Company’s creditors, including,
but not limited to, a determination to continue business operations in contemplation of a sale of
the Company or substantially all of its assets; and be it further

Asset Purchase Agreement

        RESOLVED, that in connection with the Bankruptcy Case, it is desirable and in the best
interests of the Company, its creditors, and other parties in interest to enter into an Asset
Purchase Agreement (“Bausch APA”) with Bausch Health Companies, Inc. (“Bausch”), as
buyer, pursuant to which Bausch has agreed to purchase, and the Company has agreed to sell,
substantially all of the assets of the Company, subject to a marketing process and the receipt of
higher or better offers; and be it further

     RESOLVED, that the Officers of the Company be, and each of them hereby is,
empowered, authorized and directed, with full power of delegation, on behalf of and in the name

SMRH:228408311.5                                -2-
18-14010       Doc 1   Filed 12/12/18    Entered 12/12/18 04:37:41        Main Document         Pg
                                            10 of 19


of the Company, to cause the Company to negotiate, execute and deliver the Bausch APA, and
any related documents contemplated thereby, in such form and with such changes or
amendments (substantial or otherwise) thereto as any one or more such Officers shall approve as
necessary or desirable, in order to perform the Company’s obligations under the Bausch APA;
and be it further

       RESOLVED, that the Officers of the Company be, and each of them hereby is,
empowered, authorized and directed, with full power of delegation, on behalf of and in the name
of the Company, to market the assets of the Company in pursuit of higher or better offers in
compliance with the Bausch APA and the bid procedures entered in the Bankruptcy Case, and to
carry out fully the intent of the foregoing resolutions; and be it further

Debtor-in-Possession Financing

        RESOLVED, that in connection with the Bankruptcy Case, it is desirable and in the best
interests of the Company, its creditors, and other parties in interest to enter into a binding term
sheet (the “Term Sheet”) by and among the Company, as debtor-in-possession, and CRG
Servicing LLC, as Administrative and Collateral Agent (“CRG”), pursuant to which CRG or one
or more of its affiliates have agreed to provide the Company with post-petition debtor-in-
possession financing, and that the form, terms and provisions of the Term Sheet are hereby, in all
respects, confirmed, ratified and approved; and be it further

        RESOLVED, that the Company be, and hereby is, authorized to incur the obligations
and to undertake any and all related transactions contemplated under the Term Sheet, including
entering into a definitive Debtor-in-Possession Financing Agreement (the “DIP Financing
Agreement”) with CRG consistent with the Term Sheet, which provide for the borrowing and
reborrowing of loans, guaranteeing of obligations, granting of security and the pledging of
collateral; and be it further

        RESOLVED, that the Officers of the Company be, and each of them hereby is,
empowered, authorized and directed, with full power of delegation, on behalf of and in the name
of the Company, to cause the Company to negotiate, execute and deliver the Term Sheet and DIP
Financing Agreement and the related documents contemplated thereby, in such form and with
such changes or amendments (substantial or otherwise) thereto as any one or more such Officers
shall approve as necessary or desirable, in order to consummate the transactions contemplated by
the Term Sheet; and be it further

        RESOLVED, that the Officers of the Company be, and each of them hereby is,
empowered, authorized and directed, with full power of delegation, on behalf of and in the name
of the Company, to take all such further actions which shall be necessary, proper or advisable to
perform the Company’s obligations under or in connection with the Term Sheet and the DIP
Financing Agreement and the transactions contemplated therein and to carry out fully the intent
of the foregoing resolutions; and be it further

Retention of Advisors

     RESOLVED, that the Officers of the Company be, and each of them hereby is
empowered, authorized and directed to continue to retain, on behalf of the Company and in its

SMRH:228408311.5                                -3-
18-14010       Doc 1   Filed 12/12/18     Entered 12/12/18 04:37:41        Main Document          Pg
                                             11 of 19


name, the law firms of Skadden, Arps, Slate, Meagher & Flom LLP (“Skadden Arps”), as
chapter 11 counsel, and Sheppard, Mullin, Richter & Hampton LLP (“Sheppard Mullin”), as
special counsel, to render general legal advice and in the event that the Company files the
Petitions, to represent the Company and its Subsidiary in connection with such proceedings and
all other related matters in connection therewith, in such capacities and on such terms as the
Officers of the Company, and each of them, may or shall approve and/or have previously
approved; and be it further

        RESOLVED, that the Officers of the Company be, and each of them hereby is
empowered, authorized and directed to continue to retain, on behalf of the Company and in its
name, (i) FTI Consulting, Inc. (“FTI”) to serve as financial advisor to the Company,
(ii) Centerview Partners Holdings LP (“Centerview”) to provide investment banking services to
the Company, and (iii) Prime Clerk LLC (“Prime Clerk”) to provide consulting services to the
Company regarding noticing, claims management and reconciliation, plan solicitation, balloting,
disbursements, and any other services agreed to by the parties; and be it further

       RESOLVED, that the Officers of the Company be, and each of them hereby is,
empowered, authorized and directed, on behalf of and in the name of the Company to continue
the employment and retention of professionals in the ordinary course as long as they deem
appropriate and in the Bankruptcy Case to retain and employ other attorneys, accountants, and
other professionals to assist in the Company’s Bankruptcy Case on such terms as are deemed
necessary, proper, or desirable; and be it further

        RESOLVED, that the Officers of the Company be, and each of them hereby is,
authorized and directed to execute any appropriate engagement letters and agreements and such
other documents necessary to retain Sheppard Mullin, Skadden Arps, FTI, Centerview, Prime
Clerk, and any other or additional financial advisors, investment bankers, accountants, auditors,
advisors, legal counsel, and other professionals not specifically identified herein (the
“Professionals”), and to cause the Company to pay appropriate retainers to such Professionals
prior to the filing of the Bankruptcy Case or after to the extent appropriate and permitted in the
Bankruptcy Case, and to cause to be filed appropriate applications or motions seeking authority
to retain and pay for the services of such Professionals; and be it further

General Resolutions

        RESOLVED, that the Officers of the Company be, and each of them hereby is,
empowered and authorized, and directed, on behalf of and in the name of the Company, to take,
from time to time, any and all such action and to execute and deliver from time to time any and
all such agreements, amendments, instruments, requests, receipts, applications, reports,
certificates and other documents, and to execute, verify and file or cause to be filed all petitions,
schedules, lists, motions, applications and other papers and documents necessary or desirable in
connection with the Bankruptcy Case, and to take any and all action deemed necessary, proper,
or desirable in connection with the Bankruptcy Case, to carry out and perform the purposes of
these resolutions, and the execution of such documents and taking of such action shall be
conclusive evidence of the necessity or desirability thereof; and be it further




SMRH:228408311.5                                 -4-
18-14010       Doc 1   Filed 12/12/18    Entered 12/12/18 04:37:41        Main Document         Pg
                                            12 of 19


        RESOLVED, that the omission from these Resolutions of any agreement, document or
other arrangement contemplated by any of the agreements, documents or instruments described
in these Resolutions or any action to be taken in accordance with any requirement of any of the
agreements, documents or instruments described in these Resolutions shall in no manner
derogate from the authority of the Officers of the Company, to take all actions necessary,
desirable, advisable or appropriate to consummate, effectuate, carry out or further the
transactions contemplated by, and the intent and purposes of, these Resolutions; and be it further

        RESOLVED, that any and all actions lawfully done for and on behalf and in the name of
the Company by any Officer or Professional engaged by the Company in connection with the
Bankruptcy Case with respect to any transactions contemplated by these Resolutions before or
after their adoption be, and they hereby are, ratified, authorized, approved, adopted in good faith
and consented to in all respects for all purposes.




SMRH:228408311.5                                -5-
     18-14010            Doc 1      Filed 12/12/18            Entered 12/12/18 04:37:41                     Main Document                    Pg
                                                                 13 of 19


 Fill in this information to identify the case:


Debtor name                 Synergy Pharmaceuticals, Inc., et al.

United States Bankruptcy Court for the:     Southern             District of New York                                            Check if this is
                                                                             (State)                                          an amended filing

Case number (If known):




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
 Largest Unsecured Claims and Are Not Insiders                                                                                                 12/15

 Set forth below is a list of creditors holding the twenty (20) largest unsecured claims against the Debtors, as of December 12,
 2018. This list has been prepared on a consolidated basis, based upon the books and records of the Debtors, and in accordance
 with Bankruptcy Rule 1007(d), for filing in the Debtors' chapter 11 cases. This list does not include (1) persons who come within
 the definition of "insider" set forth in section 101 of the Bankruptcy Code, (2) secured creditors, or (3) claims held by the Debtors'
 employees.

 The information presented in the list below shall not constitute an admission of liability by, nor is binding on, the Debtors and the
 failure to list a claim as contingent, disputed or subject to set off shall not be a waiver of any of the Debtors' rights relating
 thereto.

Name of creditor and complete       Name, telephone number, and email   Nature of the   Indicate if claim   Amount of unsecured claim
mailing address, including zip      address of creditor contact         claim           is contingent,      If the claim is fully unsecured, fill in only
code                                                                    (for example,   unliquidated, or    unsecured claim amount. If claim is
                                                                        trade debts,    disputed            partially secured, fill in total claim
                                                                        bank loans,                         amount and deduction for value of
                                                                        professional                        collateral or setoff to calculate
                                                                        services, and                       unsecured claim.
                                                                        government                           Total           Deduction
                                                                        contracts)                           Claim, if       for value of Unsecured
                                                                                                             partially       collateral       Claim
                                                                                                             secured         or setoff
     Wells Fargo Bank, National     Wells Fargo Bank, National          7.50%                                             $ 18,755,901.37
     Association, as Indenture      Association                         Convertible
     Trustee to the 7.50%           Corporate Trust-DAPS Reorg          Senior Notes
     Convertible Senior Notes due   6th and Marquette Ave 12th Floor    due 2019
     2019                           MAC N9303-121
1.                                  Minneapolis, MN 55479

                                    Attn: Stefan Victory
                                    Phone: 1-800-344-5128
                                    Fax: 1-866-969-1290
                                    Email: dapsreorg@wellsfargo.com
     Healix Inc.                    Healix, Inc.                        Trade Debt                                        $ 3,357,953.86
                                    100 West 33rd Street
                                    New York, NY 10001
2.
                                    Attn: Joshua Forney
                                    Tel: 646-609-9946
                                    Email:
                                    Joshua.Forney@healixglobal.com




     Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 1
     18-14010            Doc 1       Filed 12/12/18                Entered 12/12/18 04:37:41                 Main Document                    Pg
                                                                      14 of 19
     Debtor Synergy       Pharmaceuticals, Inc., et al.                               Case Number (if known)



Name of creditor and complete       Name, telephone number, and email    Nature of the   Indicate if claim   Amount of unsecured claim
mailing address, including zip      address of creditor contact          claim           is contingent,      If the claim is fully unsecured, fill in only
code                                                                     (for example,   unliquidated, or    unsecured claim amount. If claim is
                                                                         trade debts,    disputed            partially secured, fill in total claim
                                                                         bank loans,                         amount and deduction for value of
                                                                         professional                        collateral or setoff to calculate
                                                                         services, and                       unsecured claim.
                                                                         government                           Total           Deduction
                                                                         contracts)                           Claim, if       for value of Unsecured
                                                                                                              partially       collateral       Claim
                                                                                                              secured         or setoff
     Chiltern International, Inc.   Chiltern International, Inc.         Trade Debt          Disputed                      $ 1,155,302.50
                                    1016 W. 9th Ave
                                    King of Prussia, PA 19406
3.

                                    Attn: Glenn Kerkhof
                                    Tel: 423-968-9533
                                    Email: usfinance@chiltern.com
     AmbioPharm, Inc.               AmbioPharm, Inc.                     Trade Debt                                        $ 1,000,000.00
                                    1024 Dittman Court
                                    North Augusta SC 29842
4.
                                    Attn: Sammi Liu
                                    Tel: 610-301-3317
                                    Email: sammi.liu@ambiopharm.com
     Sudler & Hennessey LLC         Sudler & Hennessey LLC               Trade Debt                                         $ 863,508.50
                                    230 Park Ave.
                                    New York, NY 10003
5.
                                    Attn:
                                    Tel: 212-614-3937
                                    Email:
                                    ClientFinanceDept@sudler.com
     Relay Health Pharmacy          Relay Health Pharmacy                Gross to Net      Unliquidated                     $ 825,000.00
                                    5995 Windward Parkway                Programs
                                    Alpharetta, GA 30005-4184
6.
                                    Attn: Roosevelt Brown
                                    Tel: 404-728-3016
                                    Email:
                                    Roosevelt.Brown@McKesson.com
     Ogilvy CommonHealth            Ogilvy CommonHealth Worldwide,       Trade Debt                                         $ 669,280.79
     Worldwide, LLC                 LLC
                                    400 Interpace Parkway
                                    Parsippany, NJ 07054
7.

                                    Attn: Andrew Schirmer, CEO
                                    Tel: 973-352-1000
                                    Email: andrew.schirmer@ogilvy.com
     TrialCard Incorporated         TrialCard Incorporated               Gross to Net      Unliquidated                     $ 566,940.00
                                    2250 Perimeter Park Drive            Programs
                                    Morrisville, NC 27560
8.
                                    Attn: Accounts Receivable
                                    Tel: 919-845-0774
                                    Email: AR@trialcard.com
     Palmetto GBA, LLC              Palmetto GBA, LLC                    Gross to Net       Unliquidated                    $ 513,764.83
                                    17 Technology Circle                 Programs
                                    Columbia, SC 29203
9.
                                    Attn: Joe Johnson, President
                                    Tel: 803-735-1034
                                    Email: info@palmettogba.com




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
      18-14010            Doc 1        Filed 12/12/18              Entered 12/12/18 04:37:41                    Main Document                    Pg
                                                                      15 of 19
      Debtor Synergy         Pharmaceuticals, Inc., et al.                               Case Number (if known)



Name of creditor and complete         Name, telephone number, and email     Nature of the   Indicate if claim   Amount of unsecured claim
mailing address, including zip        address of creditor contact           claim           is contingent,      If the claim is fully unsecured, fill in only
code                                                                        (for example,   unliquidated, or    unsecured claim amount. If claim is
                                                                            trade debts,    disputed            partially secured, fill in total claim
                                                                            bank loans,                         amount and deduction for value of
                                                                            professional                        collateral or setoff to calculate
                                                                            services, and                       unsecured claim.
                                                                            government                           Total           Deduction
                                                                            contracts)                           Claim, if       for value of Unsecured
                                                                                                                 partially       collateral       Claim
                                                                                                                 secured         or setoff
      Prime Therapeutics LLC          Prime Therapeutics LLC                Gross to Net      Unliquidated                     $ 456,323.02
                                      800 Nicollet Mall                     Programs
10.                                   Minneapolis, MN 55402

                                      Tel: 800-858-0723
      Charles River Laboratories,     Charles River Laboratories, Inc251    Trade Debt                                         $ 382,227.00
      Inc                             Ballardvale StreetWilmington, MA
11.                                   01887-1000Attn: Mandy GloverTel:
                                      978-658-6000Email:
                                      Mandy.Glover2@crl.com
      Express Scripts Inc.            ESI PSG                               Gross to Net      Unliquidated                     $ 267,344.35
                                      131 S Dearborn - 6th Floor            Programs
                                      Chicago, IL 60603
12.
                                      Attn: PJ Strong
                                      Tel: (952) 837-7467
                                      Email: PJStrong@express-scripts.com
      eResearch Technology, Inc.      eResearch Technology, Inc.            Trade Debt                                         $ 258,365.00
                                      225 West Station Square Dr.
                                      Pittsburgh, PA 15219
13.
                                      Attn: Tara Yokopenic
                                      Tel: 800-225-0090
                                      Email: tara.yokopenic@ert.com
      Aetna Inc.                      Aetna Health Management               Gross to Net      Unliquidated                     $ 234,425.26
                                      P.O. Box #100896                      Programs
                                      Atlanta, GA 30384
14.
                                      Attn:
                                      Tel: (952) 594-6365
                                      Email: aslesens@aetna.com
      Health Strategies Group, LLC    Health Strategies Group, LLC          Trade Debt                                         $ 206,112.50
                                      790 Township Line Rd.
                                      Yardley, PA 19067
15.
                                      Attn: Rod Cavin, CEO
                                      Tel: 609-397-5282
                                      Email: ar@healthstrategies.com
      UPM Pharmaceuticals, Inc.       UPM Pharmaceuticals, Inc.             Trade Debt                                         $ 203,405.00
                                      501 5th Street
                                      Bristol, TN 37620
16.
                                      Attn: John P. Gregory, CEO
                                      Tel: 423-989-8000
                                      Email: sorce@upm-inc.com
      CIGNA Group Insurance           CIGNA Group Insurance                 Employee                                           $ 174,625.54
                                      1455 Valley Center Pkwy               Benefits
                                      Bethlehem, PA 18017-2288
17.
                                      Attn: David Cordani, CEO
                                      Tel: 215-761-1000
                                      Email: david.cordani@cigna.com




      Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 3
      18-14010            Doc 1        Filed 12/12/18           Entered 12/12/18 04:37:41                     Main Document                    Pg
                                                                   16 of 19
      Debtor Synergy         Pharmaceuticals, Inc., et al.                             Case Number (if known)



Name of creditor and complete         Name, telephone number, and email   Nature of the   Indicate if claim   Amount of unsecured claim
mailing address, including zip        address of creditor contact         claim           is contingent,      If the claim is fully unsecured, fill in only
code                                                                      (for example,   unliquidated, or    unsecured claim amount. If claim is
                                                                          trade debts,    disputed            partially secured, fill in total claim
                                                                          bank loans,                         amount and deduction for value of
                                                                          professional                        collateral or setoff to calculate
                                                                          services, and                       unsecured claim.
                                                                          government                           Total           Deduction
                                                                          contracts)                           Claim, if       for value of Unsecured
                                                                                                               partially       collateral       Claim
                                                                                                               secured         or setoff
      The H&W Group, Inc dba          The H&W Group, Inc dba Salutem      Trade Debt                                         $ 173,958.75
      Salutem                         200 E. Randolph St.
                                      Chicago, IL 60601
18.
                                      Attn: Adam Woodruff
                                      Tel: 312-240-2638
                                      Email:
                                      Adam.Woodruff@edelman.com
      The Scottsdale Resort &         The Scottsdale Resort & McCormick   Trade Debt                                         $ 168,499.73
      McCormick                       7700 East McCormick Parkway
                                      Scottsdale, AZ 85258
19.
                                      Attn:
                                      Tel: 480-991-9000
                                      Fax: 480-596-7422
                                      Email:
      Sofitel Philadelphia            Sofitel Philadelphia                Trade Debt                                         $ 151,998.33
                                      120 South 17th St
                                      Philadelphia, PA 19103
20.
                                      Attn: Angela Bauer
                                      Tel: 215-569-8300
                                      Email: angela.bauer@sofitel.com




      Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                  page 4
18-14010          Doc 1      Filed 12/12/18         Entered 12/12/18 04:37:41               Main Document             Pg
                                                       17 of 19


SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Lisa Laukitis
Christine A. Okike
Four Times Square
New York, New York 10036-6522
Telephone: (212) 735-3000
Fax: (212) 735-2000

– and –

Ron E. Meisler (pro hac vice pending)
Christopher M. Dressel (pro hac vice pending)
Jennifer Madden (pro hac vice pending)
155 North Wacker Drive
Chicago, Illinois 60606-1720
Telephone: (312) 407-0700
Fax: (312) 407-0411

Proposed Counsel to Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                    Chapter 11

SYNERGY PHARMACEUTICALS INC., et al.,                                    Case No. __-_____ (___)

                    Debtors.1                                            (Joint Administration Pending)


                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

           Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York, Synergy

Pharmaceuticals Inc. (“Synergy Pharmaceuticals”) and its debtor subsidiary, Synergy

Advanced Pharmaceuticals, Inc. (“Synergy Advanced”), as debtors and debtors in possession in

the above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully represent:


1
    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
    are as follows: Synergy Pharmaceuticals Inc. (5269); Synergy Advanced Pharmaceuticals, Inc. (4596). The
    address of the Debtors’ corporate headquarters is 420 Lexington Avenue, Suite 2012, New York, New York
    10170.

                                                            -1-
18-14010    Doc 1    Filed 12/12/18     Entered 12/12/18 04:37:41        Main Document   Pg
                                           18 of 19


       1.     Synergy Pharmaceuticals is a publicly traded corporation. No corporation owns

10% or more of any class of Synergy Pharmaceuticals’ equity interests.

       2.     Synergy Pharmaceuticals owns 100% of the equity interests of Synergy

Advanced.




                                              -2-
         18-14010              Doc 1        Filed 12/12/18         Entered 12/12/18 04:37:41                          Main Document         Pg
                                                                      19 of 19
 Fill in this information to identify the case and this filing:


              Synergy Pharmaceuticals Inc.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         #    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         #    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         #    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         #    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         #    Schedule H: Codebtors (Official Form 206H)

         #    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         #    Amended Schedule ____


         #    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         #                                               Consolidated Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     12/12/2018
        Executed on ______________
                           MM / DD / YYYY
                                                           " /s/ Gary G. Gemignani
                                                               _________________________________________________________________________
                                                                Signature of individual signing on behalf of debtor



                                                                 Gary G. Gemignani
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
